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                                                         July 1, 2025

        BYECF
                                                                   APPLICATION GRANTED
                                                                       SO ORDERED
         The Honorable John G. Koeltl
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl St.
                                                       )/
                                                       (j_/d--)
                                                               ~ ({6e12q- .
                                                                      John G. Koeltl, U.S.D.J.
         New York, NY 10007-1312

                 Re:     United States v. Visa Inc., 1:24-cv-7214-JGK


         Dear Judge Koeltl:

                 On behalf of defendant Visa Inc. ("Visa"), and with the consent of Plaintiff, we
         respectfully request that the Court extend Visa's deadline to answer the complaint from
         July 8, 2025, to July 31 , 2025. This is Visa' s first request for an extension of time to answer
         the complamt, following the Court's ruling on Visa's motion to dismiss the complaint.

                The extension of the deadline for Visa to answer the complaint will not impact any
         other existing case deadlines or any deadlines to be proposed in a supplemental case
         schedule to be filed as a supplemental Rule 23(f) report by July 23 , 2025, in accordance
         with the current Case Management Plan and Scheduling Order (ECF No. 53).

                 Thank you for considering this request.

                                                          Respectfully submitted,

                                                          Isl Anne P. Davis

                                                          Anne P. Davis


         Copies to all counsel of record by ECF




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